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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                Plaintiffs,                            4:18CR3075

    vs.
                                                          ORDER
HERBERT B. KINCHEN,

                Defendants.


    IT IS ORDERED:

    1)    The motion of Justin B. Kalemkiarian to withdraw as counsel of
          record for Defendant, (Filing No. 69), is granted.

    2)    Pursuant to the entry of appearance, (Filing No. 67), Carlos Monzon
          is Defendant’s newly retained counsel, Carlos A. Monzon, and he
          shall promptly notify Defendant of the entry of this order.

    3)    The clerk shall delete Justin B. Kalemkiarian from any future ECF
          notifications herein.

    4)    Defendant's new counsel needs additional time to review discovery
          and confer with Defendant. Accordingly, Defendant’s unopposed
          motion to continue the change of plea hearing, (Filing No. 68), is
          granted as follows:

          a.    Defendant's plea hearing will be held before the undersigned
                magistrate judge on February 12, 2019 at 3:00 p.m..
                Defendant is ordered to appear at this hearing.

          b)    The Court finds that the ends of justice served by continuing
                Defendant's plea hearing outweigh the best interest of
                Defendant and the public in a speedy trial. Accordingly, the
                time between today's date and the district court judge's
                acceptance or rejection of the anticipated plea of guilty shall
                be excluded for speedy trial calculation purposes. 18 U.S.C. §
                3161(h)(7). Failing to timely object to this order as provided
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                under this court’s local rules will be deemed a waiver of any
                right to later claim the time should not have been excluded
                under the Speedy Trial Act.

    January 7, 2019.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge




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